Case 1:14-cv-24887-LFL Document 35 Entered on FLSD Docket 04/19/2016 Page 1 of 14



                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                           CASE NO. 14-24887-MC-SEITZ/TURNOFF

  IN RE APPLICATION OF
  HORNBEAM CORPORATION,

  REQUEST FOR DISCOVERY PURSUANT
  TO 28 U.S.C. § 1782
  _______________________________________/

                  APPLICANTS’ MEMORANDUM OF LAW IN OPPOSITION
                         TO MOVANTS’ MOTION FOR A STAY

            Applicant, Hornbeam Corporation (“Hornbeam”), and Intervenor, Bracha Foundation

  (“Bracha”) (collectively, “Applicants”), by and through their counsel, respectfully submit this

  memorandum of law in opposition to Intervenors Panikos Symeou (“Symeou”) and Halliwel

  Assets, Inc.’s (“Halliwel”) (collectively, “Movants”) Motion to Stay Proceedings Pending Appeal

  (ECF No. 28). 1 On April 8, 2016, Respondents CC Metals and Alloys, LLC, Felman Production,

  LLC, Felman Trading, Inc., Georgian American Alloys, Inc., Mordechai Korf, Optima

  Acquisitions, LLC, Optima Group, LLC, Optima Specialty Steel, Inc., Optima Fixed Income,

  LLC, Optima Ventures, LLC, Optima International of Miami, Inc., and 5251 36ST, LLC,

  (collectively, the “Related Parties” or “Respondents”), each of which are related to Warren Steel

  Holdings LLC (“Warren Steel”) and, with the exception of Mordechai Korf, owned by Igor

  Kolomoisky and managed by Mr. Korf, joined Symeou and Halliwel’s motion to stay. See ECF

  No. 30.




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   Applicants had an opportunity to address the issues raised in the motion for a stay during the
  April 8, 2016 status conference before the Court and noted their intention to file this written
  opposition. Applicants now respectfully submit this memorandum in opposition to assist the Court
  and supplement the record.
Case 1:14-cv-24887-LFL Document 35 Entered on FLSD Docket 04/19/2016 Page 2 of 14



                                    PRELIMINARY STATEMENTS

  A.        Under the circumstances, it is equitable to brief the issues before ruling on the motion
            to stay.

            Applicants do not argue that this Court lacks discretion to control its docket or to issue a

  stay. Instead, Applicants argue that a stay is not warranted under the circumstances here: where a

  stay clearly benefits Movants, where it is likely to irreparably harm Applicants, and the Eleventh

  Circuit’s decision is unlikely to be dispositive of this Court’s ruling or eliminate the need for

  briefing. This is compounded by the lack of harm to Movants and Respondents, which is limited

  to cutting and pasting previous briefs into this caption. Thus, equity cautions against issuing a

  stay.

            Movants argue that a stay is warranted and that there is no harm to Applicants Hornbeam

  and Bracha by delaying commencing the briefing schedule until the potentially dispositive

  decision of Eleventh Circuit is issued. It is hard to imagine, however, how a decision by the

  Eleventh Circuit would eliminate the need for briefing before this Court.

            To the contrary, it is highly unlikely that the Eleventh Circuit decision will be dispositive

  on this Court’s ruling. The Section 1782 factors are clear and straight-forward and review is highly

  discretionary. Additionally, this Court should follow the Northern District of Alabama – the only

  court that has made findings concerning a motion for a stay concerning this matter – in holding

  that a stay is likely to cause harm to Applicants. Indeed, based on the highly discretionary nature

  of Section 1782 decisions, the Eleventh Circuit is unlikely to find that Chief Judge Bowdre abused

  her discretion or made a clear error of judgment. See In re Bracha Found., 2:15-mc-00748-KOB,

  2015 WL 6828677 (N.D. Ala. Nov. 6, 2015). 2




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      A copy of the decision is attached as Exhibit A hereto.


                                                     2
Case 1:14-cv-24887-LFL Document 35 Entered on FLSD Docket 04/19/2016 Page 3 of 14



          The Court should delay ruling on Movants’ motion for a stay until the issues are fully

  briefed. There are many benefits to this approach without the risk of harm. First, after having the

  opportunity to review the merits of Movant’s arguments, the Court will be better prepared to

  address whether a stay is warranted. Second, if the Court decides in its well-informed discretion

  to stay the proceedings pending the Eleventh Circuit’s decision, then the parties can submit short,

  supplemental submissions concerning the impact of the Eleventh Circuit’s decision on this case

  within a reasonable time after the decision’s issuance. That will greatly reduce the time after the

  decision that the issues will be fully briefed (i.e., limit the potential for harm).

          The balance of potential harm clearly weighs in favor of such an approach. On one side,

  the only potential harm to Movants will be having to brief the issues; issues that have been briefed

  before on many occasions and will need to be briefed in the future. On the other, Applicants face

  potential irreparable harm, which is discussed in more detail below.

  B.      Applicants do not oppose staying compliance with the subpoenas until the Court has
          ruled on the merits.

          As a preliminary matter, Applicants do not oppose a stay of compliance with the subpoenas

  until this Court has the opportunity to address Respondents’ motion to quash and Movants’ motion

  to vacate. As such, Respondents’ arguments regarding their burden in complying with the

  subpoenas – the only burden they claim – are unjustified and should not be considered at this time.

  Applicants respectfully suggest that the Court delay addressing any issue concerning the stay of

  compliance with the subpoenas until after the Court rules on Respondents’ motion to quash and

  Movants’ motion to vacate.

                                           INTRODUCTION

          Movants employ a clear and obvious all-or-nothing strategy of delay and opposition.

  Despite their admitted self-dealing and insider transactions (e.g., Mr. Korf signed multiple loan



                                                     3
Case 1:14-cv-24887-LFL Document 35 Entered on FLSD Docket 04/19/2016 Page 4 of 14



  agreements as both borrower on behalf of Warren Steel and lender on behalf of the Related Parties,

  and Warren Steel transacted business with many Korf-managed and Kolomoisky-controlled

  Related Parties), they have opposed at all costs disclosing any meaningful financial or bank

  documents that Applicants could use to support their reasonably contemplated foreign claims

  including the bank records of Warren Steel itself. It must be assumed that Movants would not

  employ such a strategy and expend such resources to conceal their admitted dealings with a

  purportedly insolvent and now shuttered Warren Steel unless they had something to hide. The

  motion for a stay is simply the most recent step towards that end.

         Movants motion is also disingenuous because Movants will appeal any grant of discovery

  in this case regardless of how the Eleventh Circuit rules. As noted by the Northern District of

  Alabama, Movants remarkably appealed the very scope of discovery that they previously

  suggested:

         The court recognizes that the movants would prefer that the court had rejected
         entirely the application for discovery pursuant to § 1782. However, given that the
         court, in its discretion, granted that application, the court finds curious and
         unpersuasive the movants’ current position that the scope of the discovery is overly
         broad: that scope is precisely what the movants suggested in their supplemental
         brief and during the hearing.

  Ex. A, p. 6.

         As such, Applicants oppose a further delay in briefing the issues – which would provide

  this Court with a better understanding of Movants’ likelihood of success on the merits – until after

  the Eleventh Circuit has issued its opinion. 3 Movants’ brief fully disregards the harm to Applicants

  based on the recent closure of Warren Steel, the possible sale of Warren Steel sale, Movants


  3
    The oral argument has been rescheduled until the week of July 11-15, 2016 and it will likely take
  the Eleventh Circuit months to issue a written opinion. If, as expected, the Eleventh Circuit rules
  in Applicant’s favor, Applicants should not have to then begin the long process of addressing
  Movants and Respondents’ motions to vacate and quash which will take many more months and
  perhaps more than a year before Respondents hand over any documents.


                                                   4
Case 1:14-cv-24887-LFL Document 35 Entered on FLSD Docket 04/19/2016 Page 5 of 14



  attempt to execute on Hornbeam’s Halliwel shares in the active BVI litigation, and the New York

  protective order that limits undue delay. Movants could have agreed to stay the sale of Warren

  Steel, the transfer of Warren Steel’s assets, and their attempt to execute on Hornbeam’s Halliwel

  shares pending the Eleventh Circuit decision. They did not. As such, Movants seek a stay while

  simultaneously seeking to harm Applicants.            It addition Movants attempt to prolong their

  avoidance of proper discovery of relevant records in possession of Respondents in this District as

  they have done in other Districts with other subpoena recipients.

            Moreover, Movants raised their argument concerning the Applicants nonpayment of the

  BVI judgment before two federal courts; both courts found it unpersuasive. In fact, the Southern

  District dismissed Movants argument as implausible and found that payment of the judgment “is

  a fairly trivial obstacle”:

            I do not find it plausible that these monetary requirements would stop Hornbeam
            from litigating in the BVI again. The underlying controversy among the Oligarchs
            is a vigorous, and perhaps even bitter, dispute over tens of millions of dollars,
            among extraordinarily wealthy men. Assuming it is true that Hornbeam would
            need to pay $1.1 million to pursue its BVI claims, this requirement is a fairly trivial
            obstacle in context.

  ECF No. 28-2, Ex. 9, p. 15 (internal footnote and citations omitted) (emphasis added). 4 This alone

  should be dispositive of Movants request for a stay pending payment of the BVI judgment.

            Additionally, it is not clear that Applicants would need to pay the entire amount to

  commence proceedings in the BVI. In any event, these issues regarding the BVI judgment are

  being addressed in the BVI and will be addressed by a BVI court once Applicants commence the

  foreign proceeding.

            Movants attempt to delay beginning the briefing before this Court until after the Eleventh

  Circuit issues its opinion is a clear delay tactic. There is no reason to delay the briefing of issues


  4   A copy of the decision is also attached as Exhibit B hereto.


                                                      5
Case 1:14-cv-24887-LFL Document 35 Entered on FLSD Docket 04/19/2016 Page 6 of 14



  that have already been fully briefed multiple times by the Movants. Indeed, Movants even double-

  captioned filings before this Court with the Ohio proceeding. See ECF Nos. 28-5, 28-7.

                                            ARGUMENT

         Applicants generally oppose Movants’ factual allegations and would instead direct the

  Court to the findings made by Southern District of New York and the Northern District of

  Alabama.    Exs. A and B.      Any allegation that Applicants have unreasonably delayed this

  proceeding is contrary to the ongoing multidistrict litigation and Movants’ all-or-nothing strategy

  of delay and opposition. As soon as Applicants verified that the Warren Steel was permanently

  closed, Applicants filed the subpoenas in Ohio and Florida.

  A.     It is highly unlikely the Eleventh Circuit decision will be dispositive.

         Movants overstate the likelihood that the Eleventh Circuit decision will be dispositive of

  this Court’s discretion to grant discovery pursuant to Section 1782. Movants’ argument misses

  two crucial points: (1) there are well-established statutory and discretionary factors that the

  Eleventh Circuit is not likely to disturb; and (2) district courts have broad discretion to determine

  whether to grant discovery.

         First, the statutory and discretionary factors that this Court must consider when determining

  whether to grant the requested discovery are well-established and have been recently considered

  by the Eleventh Circuit. Stated simply, the law applicable to Section 1782 is clear.

         The Eleventh Circuit consistently applies the same statutory factors and discretionary

  factors provided by the Supreme Court in Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S.

  241 (2004), and strongly supports the discretion of the district courts to determine whether to grant

  or deny an application. Since the issuance of the Intel decision, the Eleventh Circuit has addressed

  a grant of Section 1782 discovery on multiple occasions, each time affirming the decision of the




                                                   6
Case 1:14-cv-24887-LFL Document 35 Entered on FLSD Docket 04/19/2016 Page 7 of 14



  district court. See Application of Consorcio Ecuatoriano de Telecomunicaciones S.A. v. JAS

  Forwarding (USA), Inc., 747 F.3d 1262, 1275 (11th Cir. 2014) (affirming district court’s

  application of the statutory and discretionary factors) 5; In re Kivisto, 521 Fed. Appx. 886, 889

  (11th Cir. 2013) (affirming district court’s application of the statutory and discretionary factors);

  Weber v. Finker, 554 F.3d 1379 (11th Cir. 2009) (affirming district court order granting

  discovery); Kang v. Noro-Moseley Partners, 246 Fed. Appx. 662, 664 (11th Cir. 2007) (affirming

  district court’s application of the statutory and discretionary factors); In re Clerici, 481 F.3d 1324,

  1137 (11th Cir. 2007) (affirming district court’s application of the statutory and discretionary

  factors); Lopes v. Lopes, 180 Fed. Appx. 874, 878 (11th Cir. 2006) (“The District Court properly

  interpreted § 1782 and the factors from Intel in issuing its order. Finding no abuse of discretion we

  affirm.”); In re Xavier, No. 05-12218, 2006 WL 858489, at *1 (11th Cir. 2006) (affirming district

  court’s application of the statutory and discretionary factors). 6 Thus, it is highly unlikely the

  Eleventh Circuit’s decision will be dispositive here. Once this Court applies the well-established

  statutory and discretionary factors – factors that will not be changed by the Eleventh Circuit

  decision – it is well within this Court’s discretion to grant discovery.

         Rather than meaningfully engage with controlling law and the proper standard of review,

  Movants seek to misdirect the analysis. Movants argue that there are three potentially relevant

  dispositive issues before the Eleventh Circuit:



  5
    In the Consorcio decision, 747 F.3d 1262, the Eleventh Circuit sua sponte vacated the prior
  Eleventh Circuit opinion in the case, In re Consorcio Ecuatoriano de Telecomunicaciones S.A. v.
  JAS Forwarding (USA), Inc., 685 F.3d 987, 1001 (11th Cir. 2012), which similarly affirmed the
  district court ruling.
  6
    Although the Eleventh Circuit reversed the district court in Glock v. Glock, Inc., 797 F.3d 1002
  (11th Cir. 2015), the Court of Appeals was not determining whether the district court properly
  applied the statutory and Intel factors. The Glock decision centered one whether a party could use
  discovery properly obtained via Section 1782 in a later U.S.-based proceeding. The Circuit ruled
  in favor of allowing use of the discovery.


                                                    7
Case 1:14-cv-24887-LFL Document 35 Entered on FLSD Docket 04/19/2016 Page 8 of 14



          (1) whether Hornbeam reasonably contemplates future proceedings in the BVI;

          (2) whether Hornbeam is entitled to pre-filing discovery; and

          (3) whether the internal affairs doctrine limits this Court’s exercise of discretion. ECF No.

  28 at 14. Each of these arguments fail:

          (1) It is beyond dispute that the Alabama court properly applied the correct standard (i.e.,

  whether or not the foreign proceeding was reasonably contemplated). As such, the court’s

  application of a properly interpreted rule of law will only be reversed if the court makes a clear

  error of judgment. See Norelus v. Denny’s, Inc., 628 F.3d 1270, 1280 (11th Cir. 2010). Such a

  finding is highly unlikely considering inter alia the opportunity for a full briefing of the issues, the

  extensive record before the court, the sworn declarations that support on the issue of the

  contemplated action, that Movants failure to request testimony for a witness made available during

  the hearing, and the protective order limiting the use of information.

          (2) The Supreme Court, see Intel, 542 U.S. 241, and the Eleventh Circuit, see Consorcio

  747 F.3d 1262, have held that pre-filing discovery is allowed under Section 1782. It is highly

  unlikely that the Eleventh Circuit will depart from its own prior precedent, let alone the precedent

  of the Supreme Court. Additionally, again, the Alabama Court indisputably applied the correct

  statutory and discretionary factors.

          (3) Finally, two separate federal courts have found Movants’ internal affairs doctrine

  argument unavailing. In fact, in response to this argument, the Southern District of New York

  stated: “This argument also makes no sense because a § 1782 request is merely a discovery device

  not a pleading or means of actually litigating a dispute about Halliwel’s internal affairs.” Ex. B,

  pp. 17-18 (emphasis added). Obtaining discovery for use in civil litigation in no way addresses

  the internal affairs of a foreign corporation. Movants attempt to exempt an entire class of




                                                     8
Case 1:14-cv-24887-LFL Document 35 Entered on FLSD Docket 04/19/2016 Page 9 of 14



  applicants from discovery. This is contrary to the purposes of Section 1782. See In re Pimenta,

  942 F. Supp. 2d 1282, 1289 (S.D. Fla. 2013) (“The Court will not attempt to conduct a detailed

  analysis of foreign law, but rather focuses primarily on fostering the twin aims of the statute:

  providing an efficient means of assistance to participants in international litigation and

  encouraging foreign countries to provide reciprocal assistance to our courts.”).

         Second, this Court has broad discretion to determine whether to grant discovery pursuant

  to 28 U.S.C. § 1782. As such, assuming the Court applies the well-established statutory and

  discretionary factors, the scope of that grant “highly deferential” and may be overturned “only for

  abuse of discretion.” United Kingdom v. United States, 238 F.3d 1312, 1319 (11th Cir. 2001)).

         Thus, it is highly unlikely the Eleventh Circuit decision will be dispositive.

  B.     Stay Factors

         A court must consider four factors when considering whether to grant a stay pending

  appeal: “(1) whether the stay applicant has made a strong showing that he is likely to succeed on

  the merits; (2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance

  of the stay will substantially injure the other parties interested in the proceeding; and (4) where the

  public interest lies.” Nken v. Holder, 556 U.S. 418, 434 (2009) (quoting Hilton v. Braunskill, 481

  U.S. 770, 776 (1987)). The issues then become (1) what harm will likely result from a stay and

  (2) is the Eleventh Circuit decision likely to be dispositive of the issues before this Court.

         1.      Applicants will be harmed by a stay.

         First, Applicants will be harmed by a delay of the briefing schedule until after the Eleventh

  Circuit decision is issued, which is unlikely to occur any earlier than August 2016. After a full

  briefing of the issues, the Northern District of Alabama found that Hornbeam and Bracha would

  be irreparably harmed by a stay pending appeal:




                                                    9
Case 1:14-cv-24887-LFL Document 35 Entered on FLSD Docket 04/19/2016 Page 10 of 14



             [G]ranting the stay runs a great risk of harming Hornbeam and Bracha as the clock
             is ticking on their ability to effectively use that discovery. The Ohio court’s TRO
             enjoining the sale of Warren Steel to related parties is no longer in place. Further,
             the movants acknowledge that they are currently attempting to execute on
             Hornbeam's Halliwel shares to satisfy a cost judgment against Hornbeam in the
             BVI, which they hope will result in Hornbeam no longer having shares in Halliwel,
             and will moot future litigation. This court has already granted one stay of a
             subpoena directed at Regions Bank pursuant to the § 1782 discovery while it
             addressed the motion to vacate. A further delay pending appeal threatens to prevent
             that discovery until after the Warren Steel sale and after the execution on
             Hornbeam’s Halliwel shares, when Hornbeam and Bracha may not be able to use
             the discovery effectively. Thus, the court FINDS that the balance of irreparable
             harm weighs against granting the stay.

   Ex. A, p. 9. The Alabama court similarly found that the public interest disfavored a stay:

             [T]he court FINDS that the public interest favors allowing the discovery, as it
             supports the truth in foreign actions and encourages open disclosure among
             shareholders, investors, and corporations where allegations of misconduct are
             raised.

   Id. p. 9.

             2.     Movants will not be harmed by briefing the issues.

             There is no reason to delay briefing of the issues because they have already been fully

   briefed multiple times. Initially, Movants fully briefed these issues before the Southern District

   of New York. In a detailed and highly persuasive opinion, the New York court affirmed its prior

   grant of discovery, see In re Hornbeam Corp., No. 14 Misc. 424 (Part 1), 2014 WL 8775453

   (S.D.N.Y. Dec. 24, 2014), by again finding that the statutory factors were met and the discretionary

   factors weighed in favor of discovery. Ex. B. 7 Additionally, Movants fully briefed these issues

   before the Northern District of Alabama. In a similarly detailed and persuasive opinion, the

   Northern District of Alabama joined the Southern District of New York by finding that the

   statutory factors were met and the discretionary factors weighed in favor of discovery. In re

   Bracha Found., 2:15-mc-00748-KOB, 2015 WL 6123204 (N.D. Ala. Oct. 19, 2105). Each of


   7
       Movants filed a Rule 60(b) motion that is fully briefed. An opinion has not been issued.


                                                      10
Case 1:14-cv-24887-LFL Document 35 Entered on FLSD Docket 04/19/2016 Page 11 of 14



   these courts issued protective orders that limited the use of any information obtained to the types

   of proceedings the applicants stated they would bring. Movants appealed from the Northern

   District of Alabama decision and that appeal has been fully briefed.

          Finally, at the end of March, Movants filed a motion to vacate and Warren Steel Holdings

   LLC (“Warren Steel”) filed a motion quash in the Northern District of Ohio. 8 Before this Court,

   Movants have filed a motion to stay (ECF No. 28), with numerous attachments. Considering that

   these issues have been briefed multiple times and Movants are fully prepared to address the issues,

   there will be at most a de minimis burden in briefing the issues for this Court. Again, in the words

   of the Southern District of New York: “The underlying controversy among the Oligarchs is a

   vigorous, and perhaps even bitter, dispute over tens of millions of dollars, among extraordinarily

   wealthy men.” Ex. B, p. 15.

          Movants argue that a stay should be used to avoid duplicative litigation. ECF No. 28 at

   13. However, 28 U.S.C. § 1782(a) requires applications be made in each “district court of the

   district in which a person resides or is found.” Thus, if there is any argument that this litigation is

   duplicative, it is the result of Movants and Respondents purported decisions to loan money and

   transact business with Warren Steel through various individuals and entities (the Related Parities)

   in different jurisdictions. Under these circumstances, the statute contemplates, requires, and

   authorizes discovery proceedings in multiple Districts. Applicants should not be disadvantaged

   based on Section 1782’s requirements and the indirect manner that Movants and Respondents

   decided to conduct business through Warren Steel.



   8
    A copy of the Ohio 1782 briefing is attached as Exhibits C and D hereto. Movants also filed a
   motion for a stay. The parties agreed to a stipulated briefing schedule whereby all three motions
   would be briefed on the same schedule: responses due Monday May 16, 2016 and reply briefs due
   Monday June 6, 2016. On April 12, 2016, the Court granted this request. This is exactly what
   Applicants are asking from this Court.


                                                     11
Case 1:14-cv-24887-LFL Document 35 Entered on FLSD Docket 04/19/2016 Page 12 of 14



          3.      There is no evidence the Eleventh Circuit concluded a stay would not harm
                  Applicants.

          Contrary to Movants’ allegations that “[b]y granting the motion to stay, the Eleventh

   Circuit appears to have concluded that Movants likely were to succeed on the merits,” ECF No.

   28 at 15, “it appears that the Circuit concluded discovery would irreparably harm Movants because

   of the difficulty of undoing it,” id. at 16, and “it appears that the Circuit concluded a stay would

   not harm Bracha or Hornbeam,” id. at 17, there is absolutely no evidence in the record that the

   Eleventh Circuit considered Movants’ likelihood of success on the merits when it issued a one-

   line order on the same day and mere hours after that the motion for a stay was filed. See ECF No.

   28-3, Ex. 27 (“The ‘Intervenors-Appellants’ Emergency Motion for Stay Pending Appeal and

   Temporary Administrative Stay’ is GRANTED pending further order of this court.”). In fact, it is

   more plausible to assume that the temporary administrative stay was inadvertently converted into

   a stay pending appeal. Regardless, Movants are misleading the Court as to the import of the

   Eleventh Circuit’s “conclusions”, which are nonexistent and lack any support of Movants’

   positions much less conclusory statements offered by Movants in support of the stay application.

                                            CONCLUSION

          Although Applicants’ motion to expedite the appeal was granted on February 4, 2016, the

   hearing is not scheduled until the week of July 11-16, 2016. Movants disregard the likely harm

   that will result from and public interest against a stay, as found by the Northern District of

   Alabama, because: “it is reasonable to believe that the Eleventh Circuit Appeal may be dispositive

   of, or at least greatly affect, this §1782 action.” See ECF No. 28 at 15 (emphasis added). Even

   Movants cannot argue in good faith that a dispositive ruling is likely. Thus, the likely harm

   outweighs the likely benefits of granting Movant’s request.

          For the foregoing reasons, the Court should deny the motion for a stay.



                                                   12
Case 1:14-cv-24887-LFL Document 35 Entered on FLSD Docket 04/19/2016 Page 13 of 14



   Dated:     Miami, Florida
              April 19, 2016

                                      HOLLAND & KNIGHT LLP


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                                        13
Case 1:14-cv-24887-LFL Document 35 Entered on FLSD Docket 04/19/2016 Page 14 of 14



                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was filed via electronic

   filing using the CM/ECF filing system with the Clerk of the Court, which sent email notification

   of such filing to all CM/ECF participants in this case listed on the Service List on April 19, 2016.



                                                     /s/ Brian A. Briz
                                                     Brian A. Briz
                                                     Fla. Bar No. 657557


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